IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Y. Case No, 24-000007-W-CR-RK.
PETER MCVEY,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 1i(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties.

The United States Attorney’s Office for the Western District of Missouri and the United
States Department of Justice, Criminal Division, Money Laundering and Asset Recovery Section
(collectively, the “Government”), and the defendant, Peter McVey (“the defendant”), represented
by Attorney Christopher Joseph.

The defendant understands and agrees that this plea agreement is only between him and
the Government, and that it does not bind any other federal, state, or local prosecution authority or
any other government agency, unless otherwise specified in this agreement.

2. Defendant’s Guiity Plea, The defendant agrees to, and hereby does plead guilty to,

Count One of the information, charging him with a violation of 31 U.S.C. §§ 5318(h) and 5322(b)
and (e), and 18 U.S.C. § 2, that is, aiding and abetting the willful failure to implement and maintain

an appropriate anti-money laundering program. A copy of the information is attached as Exhibit

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 1 of 18

A. By entering into this plea agreement, the defendant admits that he intentionally and voluntarily
committed this offense, and he is, in fact, guilty of this offense.

3, Factual Basis for Guilty Plea. The parties agree that the facts constituting the offense

to which the defendant is pleading guilty are as follow:

The Defendant, PETER MCVEY (“MCVEY”), admits that from in or about April
2014, and continuing thereafter until in about July 2022, in the Western District of
Missouri and elsewhere, he willfully, voluntarily and intentionally aided and
abetted BANK-1, BANK OFFICIAL-1, and BANK OFFICIAL-2 in their willful
failure to maintain an appropriate Anti-Money Laundering Program, in violation of
Title 31, United States Code, Sections 5318(h)} and 5322(b) and (e); and Title 18,
United States Code, Section 2.

MCVEY admits that in or about 2013, he was actively recruited by BANK
OFFICIAL-1 and BANK OFFICIAL-2 to manage BANK-1’s Automated Clearing
House (“ACH”) processing systems for certain high-risk customers that BANK-1
intended to onboard in the near future. MCVEY recalls during an interview with
BANK OFFICIAL-| and BANK OFFICIAL-2 that BANK OFFICIAL-2 told him
that it was BANK-I’s goal to be a “billion dollar asset bank” as quickly as possible
and to achieve this goal, BANK-! pianned to onboard and provide financial
services to certain high-risk customers that had been pushed out of the banking
system by other banks,

MCVEY admits that he worked for BANK-1 as its Vice President and Director of
Treasury Services from in or about April 2014 to in or about July 2022, MCVEY
admits that within his first 90 days to six months on the job at BANK-1, the bank
entered into a Memorandum of Understanding (“MOU”) with the Federal Deposit
Insurance Corporation (“FDIC”) concerning the bank’s compliance with the Bank
Secrecy Act (“BSA”).

MCYEY admits that pursuant to federal law and the corrective measures contained
within the MOU, BANK-1 was required to follow and/or comply with all BSA
requirements and its promulgated regulations, as well as implement an appropriate
Anti-Money Laundering Program in accordance with 31 U.S.C. § 5318, which
focused on more scrutiny and resources — not less — toward high-risk customers.

MCVEY admits that prior to, and during, his employment with BANK-1, BANK
OFFICIAL-1 and BANK OFFICIAL-2 sought out and onboarded numerous high-
tisk customers, notwithstanding the potential risks these customers posed to
BANK-I,

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 2 of 18

BANK -1's High Risk Payday Lending Clients

MCVEY admits that BANK-1 provided banking services to various payday loan
businesses, also known as short term online lending (“STOL”) businesses, that
were owned, managed, and operated by ATTORNEY-2 and INDIVIDUAL-1.
MCVEY admits that BANK-1’s internal documentation reflects that BANK-1’s
ability to accept these various entities as banking customers was premised on the
basis that these entities were purported to be wholly owned by various Native
American tribes. MCVEY, however, admits that many of these entities engaged in
“rent-a-tribe” schemes whereby these entities were, in fact, owned, managed, and
operated by ATTORNEY-2, INDIVIDUAL-1, and various other non-tribal
individuals operating at their direction. ,

MCVEY adinits that, by in or around 2013, he understood that such “rent-a-tribe”
schemes, in which non-tribal individuals would issue high interest payday loans
purportedly on behaif of Native American tribal business entities for the purpose of
evading usury laws, were illegal. In or around 2013, MCVEY discussed with
BANK OFFICIAL | and BANK OFFICIAL 2 that the Department of Justice was
then investigating certain U.S, financial institutions for providing banking services
to high-risk customers engaged in such illicit conduct.

MCVEY admits that in or about the end of 2016, officials at BANK-1 quickly
opened multiple bank accounts for ATTORNEY-2’s and INDIVIDUAL-I’s
various payday loan entities that were suspected of operating under a “trent-a-tribe”
scheme while BANK-i’s BSA Officer was out of the office. MCVEY admits that
ATTORNEY-2 and an individual working on behalf of INDIVIDUAL-1 expressed
a need to open these accounts quickly because another bank in the Kansas City area
had informed ATTORNEY-2 and INDIVIDUAL-I that they would no longer
provide banking services to them or their businesses. ATTORNEY-2 and
INDIVIDUAL-1’s businesses claimed an affiliation with STOL portfolios
purportedly owned and managed by TRIBAL LENDING ENTITY-2 and TRIBAL
LENDING ENTITY-3.

MCVEY admits that in addition to maintaining bank accounts on behalf of these
“rent-a-tribe” entities, BANK-~-1 provided treasury services to the entities, including
sending money constituting the loan advances to the STOL customers, as well as
debiting the STOL customers’ bank accounts through ACH processing. MCVEY
admits that he was aware at that time that U.S. financial institutions were being
advised by regulators to limit the amount and volume of ACH transactions
processed on behalf of a given client or clients, and that ACH limits exist as an anti-
“money laundering measure. MCVEY admits that as part of its anti-money
laundering policies, BANK-~-l imposed daily limits on the amount and volume of
the ACH transactions that it would transact for particular customers, including
payday lending customers. As part of this policy, bank officials were required to

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 3 of 18

obtain authorization from beneficial owners and authorized signers of those account
holders in order to exceed the daily ACH limits.

MCVEY admits that on October 12, 2018, an employee working on behalf of an
entity owned and operated by ATTORNEY-2 and INDIVIDUAL-1 sent to BANK-
1 a form entitled Amendment to ACH Agreement, which permitted BANK-] to
process ACH debits of STOL borrowers’ accounts in excess of the $400,000 daily
limit imposed on this account. MCVEY admits that these attached forms were
related to bank accounts opened in the name of TRIBAL LENDING ENTITY-2
and TRIBAL LENDING ENTITY-3 and contained clear forgeries of the signatures
of tribal officials associated with those respective entities, An employee of BANK-
| forwarded the email and attached documents that contained the forged signatures
to MCVEY and BANK OFFICIAL-1. Upon receipt of this email, MCVEY
forwarded this email to another employee of the entity owned and operated by
ATTORNEY-2 and INDIVIDUAL-1, writing, “[i]n the two attached requests,
someone has laid a previous signature from a completely different piece of paper
on top of today’s request. This doesn’t look great for many reasons. Can you create
a different process whereby they are signed by the two signers or something better
than this?” Notwithstanding this acknowledged forgery, MCVEY advised this
individual that BANK-1 would “forgo the forms today” and would approve the
ACH limit increase despite the forgeries. MCVEY further admits that he never
spoke with the tribal officials whose signatures were forged on these documents
regarding the forgeries, nor did he advise federal or state regulators that he and
BANK OFFICIAL-1 had received documents which included forged signatures of
tribal officials that managed and operated these purportedly “wholly owned” tribal
lending entities,

MCVEY admits that one requirement of an anti-money laundering program is to
know your customer and another requirement is to file suspicious activity reports,
which he willfully failed to follow here. Additionally, McVey admits that these
false and fraudulent statements affected a financial institution, that is, BANK-I, as
well as the financial institutions which held the payday lending borrowers’ accounts
that were debited as a result of BANK-1’s willingness to process these transactions
notwithstanding BANK-1’s receipt of forged documents authorizing an expansion
of the entities’ increased daily ACH limit.

BANK-I’s High-Risk Deceptive “Sweepstakes” Clients

MCVEY admits that BANK-! provided banking services to various entities that
engaged in high risk, deceptive “sweepstakes,” or prize promotion businesses, that
were owned, managed, and operated by INDIVIDUAL-3 and INDIVIDUAL-4.
MCVEY admits that these entities were initially designated by BANK-1 to be
gambling businesses because of their gaming and lottery nature and the deceptive
“sweepstakes” and prize promotion offerings. Due to the nature of these businesses,

4

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 4 of 18

and other “red flags,” including continued customer complaints, those entities were
considered high-risk customers by BANK-1.

MCVEY admits that on or about November 10, 2014, BANK OFFICIAL-1I emailed
INDIVIDUAL-4, copying MCVEY, regarding a request for INDIVIDUAL-4 to
obtain an attorney opinion letter as to the legality of its business activities. BANK
OFFICIAL-| wrote, “Here is a sample of the language we are looking for in an
opinion letter.” This email included an attachment of a sample letter directed to the
bank which already included the conciusions that INDIVIDUAL-4’s “[sweepstakes
and contest] business operations are in compliance with all applicable laws,
statutes, and regulations of the United States and the States in which [customer]
does business,” and that, “[t]o the best of our knowledge, no legal or administrative
proceeding is pending or threatened which would materially adversely affect
[customer] or [customer’s] sweepstakes and contest business operations.” Two
weeks later, BANK OFFICIAL-| emailed INDIVIDUAL-4, copying MCVEY,
writing, “I have reviewed the sample letter you dropped by my office prepared by
[law firm of ATTORNEY-1]. A signed letter from the firm wil] be more than
adequate for our needs. Thanks for your cooperation and understanding in obtaining
this information for our due diligence files.”

MCVEY admits that, in or about July 2016, he exchanged a series of emails with
individuals working for the deceptive “sweepstakes” and prize promotion entities
owned by INDIVIDUAL-3 and INDIVIDUAL-4 relating to various checks that
were flagged for review pursuant to guidance promulgated by the United States
Department of the Treasury’s Office of Foreign Assets Control (“OFAC”). On or
about July 21, 2016, INDIVIDUAL-4 emailed MCVEY, copying BANK
OFFICIAL-1i, advising that “[w]e do not ask for customers date of birth for any
transaction, and that the request to put a customer’s name on a spreadsheet for each
item is “time consuming for us.” On or about that same date, BANK OFFICIAL-1!
replied, writing *[hJopefully, this will work out so you can collect some of the
money you have had to eat due to the business rules with PacNet. Let’s give it a try
for a couple of months and circle back and see if it is beneficial... My hope was that
you would mail the deposit, we put the money in your account and didn’t have to
do anything. If it ends up being too much work for you and us, we can decide what
to do.” The PacNet Group was a Canadian payment processor that processed
foreign checks on behalf of the deceptive “sweepstakes” businesses that were
owned and operated by INDIVIDUAL-3 and INDIVIDUAL-4

MCVEY further admits that in or about late September 2016, BANK-1 received
notice that OFAC designated the PacNet Group to be a significant transnational
criminal organization.

On or about September 30, 2016, BANK-1’s BSA Officer emailed MCVEY and
copied BANK OFFICIAL-~1 with a list of items for one of the entities owned by
INDIVIDUAL-3 and INDIVIDUAL-4 to address “[a]s part of the annual customer

5

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 5 of 18

review.” This list included the OFAC order against PacNet, a Better Business
Bureau “F” rating and dozens of consumer complaints, and a description of the
types of sweepstakes and contests the entity engages in and “to whom they are
marketed (demographic groups).”

On or about November 21, 2016, another bank’s representative emailed MCVEY
advising that they would “need to understand more clearly the relationship between
[BANK-1] and [entity owned by INDIVIDUAL-3 and INDIVIDUAL-4] and
PacNet before we proceed. The appearance of PacNet as an OFAC hit has created
the need for re-examination of the relationships between [BANK-1] and any clients
you would intend to process transactions through” this other bank,

On April 6, 2017, MCVEY sent an email to INDIVIDUAL-4, copying BANK
OFFICER-1, writing, “[BANK OFFICIAL-1] asked me to send to you all the due
diligence information we provided to [another bank] last fall.”

MCYEY further admits that on or about April 11, 2017, BANK-1 received legal
process relating to OFAC’s designation of PacNet.

MCVEY admits that he emailed a form te INDIVIDUAL-3 and INDIVIDUAL-4
on April 21, 2017, for the purpose of exempting BANK-1 from filing Currency
Transaction Reports (“CTRs”) with FinCEN on behalf of a purported sweepstakes
entity they owned. MCVEY further admits he sent three additional emaifs with
separate forms to INDIVIDUAL-4 between on or about April 24, 2017, and on or
about Apri] 26, 2017, for the purpose of exempting BANK-1 from filing CTRs with
FinCEN on behalf of three other deceptive sweepstakes entities owned by
INDIVIDUAL-3 and INDIVIDUAL-4. MCVEY further admits that each of the
three attached forms contained false statements, and that he knew the statements
were false at that time because these four deceptive “sweepstakes” or prize
promotion customers engaged in business activities that were ineligible for CTR
exemptions,

MCVEY further admits that BANK OFFICIAL-| was insistent that
INDIVIDUAL-3 and INDIVIDUAL-4 continue to have easy access to financial
services provided by BANK-1,

4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,

understands, and agrees that the admissions contained in Paragraph 3 and other portions of this
plea agreement will be used for the purpose of determining his guilt and advisory sentencing range

under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the

defendant’s offense level in accordance with U.S.S.G, §§ 281.3 and 3B1.1

6

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 6 of 18

5, Statutory Penalties.

The defendant understands that upon his plea of guilty te Count One of the above-captioned
information, charging a violation of 31 U.S.C. §§ 5318¢h) and 5322(b) and (e), and 18 U.S.C, § 2,
the following statutory penalties are applicable:

a. Maximum term of imprisonment: 10 years (31 U.S.C. § 5322),
b. Minimum term of imprisonment: 0 years (31 U.S.C, § 5322),

C. Maximum supervised release term: 3 years, to follow any term of
imprisonment; if a condition of release is violated, the defendant may be
sentenced to up to 2 years without credit for pre-release imprisonment or
time previously served on post-release supervision (18 U.S.C. § 3583 (b) &

(e)).

d. Maximum fine: $500,000 (31 U.S.C. § 5322(b)); an additional amount
equal to the profit gained from the offense (31 U.S.C, § 5322(e)).

e, Restitution: N/A

f $100 special assessment (18 U.S.C. § 3013).

6. Sentencing Procedures, The defendant acknowledges, understands, and agrees to the

following:

a, in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence eifher less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. in addition to any sentence of imprisonment, the Court may impose a
term of supervised release of up to one year; and that the Court must impose a
period of supervised release if a sentence of imprisonment of more than one year is
imposed;

d, if the defendant violates a condition of his supervised release, the Court
may revoke his supervised release and impose an additional period of imprisonment

7

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 7 of 18

of up to two years pursuant to 18 U.S.C. § 3583(e)(3) without credit for time
previously spent on supervised release. In addition to a new term of imprisonment,
the Court also may impose a new period of supervised release, the length of which
cannot exceed two years pursuant to 18 U.S.C. § 3583(h), less the term of
imprisonment imposed upon revocation of the defendant’s first supervised release;

e. the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

f, any sentence of imprisonment imposed by the Court will not allow for
parole;

g. the Court is not bound by any recommendation regarding the sentence
to be imposed or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Office;

h. the defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court;

i. The defendant agrees that the United States may institute civil, judicial
or administrative forfeiture proceedings against all forfeitable assets in which the
defendant has an interest, and that he will not contest any such forfeiture
proceedings;

j. Within 10 days of the execution of this plea agreement, at the request of
the Government, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that the
United States will use the financial information when making its recommendation
to the Court regarding the defendant’s acceptance of responsibility; and

k. The Government and the defendant agree that, pursuant to 31 U.S.C. §
5322(e), the imposition of a fine in the amount of $20,000 against defendant is
appropriate. This amount reflects the total bonus paid to the defendant by BANK-
1 for the year 2018, which equals the profit gained by defendant by reason of the
offense to which he is pleading guilty under Count One of the Information. The
criminal fine will be paid within 10 days of the entry of judgment

7, Government’s Agreements. Based upon evidence in its possession at this time, the

Government, as part of this plea agreement, agrees not to bring any additional charges against the
defendant for any federal criminal offenses related to wire fraud, wire fraud conspiracy, money

8

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 8 of 18

laundering, false bank entries, or any other Bank Secrecy Act violations while the defendant was
employed at BANK-! between 2014 and 2022, for which it has venue and which arose out of the
defendant’s conduct described above.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the Government has no knowledge.

The defendant recognizes that the Government’s agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the
Government retains the right to proceed with the original charges and any other criminal violations
established by the evidence. The defendant expressly waives his right to challenge the initiation of
the dismissed or additional charges against him if he breaches this agreement. The defendant
expressly waives his right to assert a statute of limitations defense if the dismissed or additional
charges are initiated against him following a breach of this agreement. The defendant further
understands and agrees that if the Government elects to file additional charges against him
following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the Government will

provide to the Court and the United States Probation Office a Government version of the offense
conduct. This may include information concerning the background, character, and conduct of the
defendant, including the entirety of his criminal activities. The defendant understands these -
disclosures are not limited to the count to which he has pleaded guilty. The Government may
respond to comments made or positions taken by the defendant or the defendant’s counsel and to

9

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 9 of 18

correct any misstatements or inaccuracies. The Government further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The Government and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal
Rules of Criminal Procedure,

9, Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible. However, after the plea has been
formally accepted by the Court, the defendant may withdraw his plea of guilty only if the Court
rejects the plea agreement or if the defendant can show a fair and just reason for requesting the
withdrawal, The defendant understands that if the Court accepts his plea of guilty and this plea
agreement but subsequently imposes a sentence that ts outside the defendant’s applicable
Sentencing Guidelines range or imposes a sentence that the defendant does not expect, like or
agree with, he will not be permitted to withdraw his plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the Sentencing

Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory in
nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not

“unreasonable”;
b. The parties agree to the following Guidelines calculations:
Base Offense Level (§ 281.3(a)(1)) 8
Plus: — Pattern of Unlawful Activity (§ 281.3(b)(2)) +2

10

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 10 of 18

Minimum adjusted offense level: 10

There is no other agreement between the parties regarding the scoring of the
guidelines, and the government is free to argue the applicability of enhancements
under U.S.S.G §§ 3B1.1 and 3B1.3 at the sentencing hearing.

C. There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine his
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

d. The defendant understands that the agreement of the parties with respect
to the Guidelines computation set forth in the subsections of this paragraph does
not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in Paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw his plea of guilty;

e. The United States agrees not to seek an upward departure from the
Guidelines, The agreement by the United States to not seek a departure from the
Guidelines is not binding upon the Court or the United States Probation Office and
the Court may impose any sentence authorized by law, including any sentence
outside the applicable Guidelines range that is not “unreasonable”;

f. The defendant consents to judicial fact-finding by a preponderance of
the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination beyond
a reasonable doubt of all facts used to determine and enhance the sentence imposed
and waives any right to have those facts alleged in the indictment. The defendant
also agrees that the Court, in finding the facts relevant to the imposition of sentence,
may consider any reliable information, including hearsay.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge, and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its

subsections. As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

Il

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 11 of 18

12, Change in Guidelines Prior to Sentencing. The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the plea
agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal
charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the

Government expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charge in the information;

c, oppose any arguments and requests for relief the defendant might advance
on an appeal from the sentences imposed and that the United States remains free on
appeai or collateral proceedings to defend the legality and propriety of the sentence
actually imposed, even if the Court chooses not to follow any recommendation
made by the United States; and

d, oppose any post-conviction motions for reduction of sentence, or other
relief,

14, Waiver of Constitutional Rights. ‘The defendant, by pleading guilty, acknowledges
that he has been advised of, understands, and knowingly and voluntarily waives the following
rights:

a. the right to plead not guilty and to persist in a plea of not guilty;

b. the right to be presumed innocent until his guilt has been established
beyond a reasonable doubt at trial;

c. the right to a jury trial, and at that trial, the right to the effective assistance
of counsel;

12

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 12 of 18

d. the right to confront and cross-examine the witnesses who testify against
him;

e, the right te compel or subpoena witnesses to appear on his behalf; and

f, the right to remain silent at trial, in which case his silence may not be
used against him,

The defendant understands that by pleading guilty, he waives or gives up those rights and
that there will be no trial, The defendant further understands that if he pleads guilty, the Court may
ask him questions about the offense or offenses to which he pleaded guilty, and if the defendant
answers those questions under oath and in the presence of counsel, his answers may later be used
against him in a prosecution for perjury or making a false statement. The defendant also
understands he has pleaded guilty to a felony offense and, as a result, will lose his right to possess
a firearm or ammunition and might be deprived of other rights, such as the right to vote or register
to vote, hold public office, or serve on a fury.

15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands, and agrees that by pleading
guilty pursuant to this plea agreement he waives his right to appeal or collaterally
attack a finding of guilt following the acceptance of this plea agreement, except on
grounds of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

b, The defendant expressly waives his right to appeal his sentence, directly
or collaterally, on any ground except claims of (1) ineffective assistance of counsel;
(2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal sentence”
includes a sentence imposed in excess of the statutory maximum, but does nof
include less serious sentencing errors, such as a misapplication of the Sentencing
Guidelines, an abuse of discretion, or the imposition of an unreasonable sentence.
However, if the United States exercises its right to appeal the sentence imposed as
authorized by 18 U.S.C. § 3742(b), the defendant is released from this waiver and
may, as part of the Government’s appeal, cross-appeal his sentence as authorized
by 18 U.S.C. § 3742(a) with respect to any issues that have not been stipulated to
or agreed upon in this agreement.

16. Financial Obligations, By entering into this plea agreement, the defendant represents

13

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 13 of 18

that he understands and agrees to the following financial obligations:

a. The Government may use the Federal Debt Collection Procedures Act
and any other remedies provided by law to enforce any restitution order that may
be entered as part of the sentence in this case and to collect any fine.

b, The defendant will fully and truthfully disclose all assets and property in
which he has any interest, or over which the defendant exercises control directly or
indirectly, including assets and property held by a spouse, nominee or other third
party. The defendant’s disclosure obligations are ongoing and are in force from the
execution of this agreement until the defendant has satisfied the restitution order in
full,

c. Within 10 days of the execution of this plea agreement, at the request of
the Government, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office, The defendant understands that
compliance with these requests will be taken into account when the Government
makes a recommendation to the Court regarding the defendant's acceptance of
responsibility.

d. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution.

e, The defendant hereby authorizes the Government to obtain a credit report
pertaining to him to assist in evaluating the defendant’s ability to satisfy any
financial obligations imposed as part of the sentence.

f. The defendant understands that a Special Assessment will be imposed as
part of the sentence in this case. The defendant promises to pay the Special
Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment of this
obligation at the time of sentencing.

g. The defendant certifies that he has made no transfer of assets or property
for the purpose of (1) evading financial obligations created by this Agreement; (2)
evading obligations that may be imposed by the Court; nor (3) hindering efforts of
the Government to enforce such financial obligations. Moreover, the defendant
promises that he will make no such transfers in the future.

h. In the event the Government learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest

14

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 14 of 18

at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the Government may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) iet the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets, In the event the
Government opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered pleas of guilty shall remain in effect and cannot be
withdrawn.

17. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive, or to authorize any third party to request or
receive, from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C.

§ 552a.

18. Waiver of Claim for Attorney’s Fees, The defendant waives all of his claims under

the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses arising
out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the Government
will be released from its obligations under this agreement, The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty,

The defendant also understands and agrees that in the event he violates this plea agreement,

15

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 15 of 18

all statements made by him to law enforcement agents subsequent to the execution of this plea
agreement, any testimony given by him before a grand jury or any tribunal or any leads from such
statements or testimony shall be admissible against him in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,
Rule 1 1(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,
or any other federal rule that pertains to the admissibility of any statements made by him
subsequent to this plea agreement.

20. Defendant’s Representations, The defendant acknowledges that he has entered into

this plea agreement freely and voluntarily after receiving the effective assistance, advice, and
approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court,
his attorneys, or any other party to induce him to enter his plea of guilty.

21. No Undisclosed Terms. The parties acknowledge and agree that the above-stated

terms and conditions, together with any written supplemental agreement that might be presented
to the Court in camera, constitute the entire plea agreement between the parties, and that any other
terms and conditions not expressly set forth in this agreement or any written supplemental
agreement do not constitute any part of the parties’ agreement and will not be enforceable against
either party.

22. Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their

16

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 16 of 18

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether
or not that party was involved in drafting or modifying this agreement.

TERESA A. MOORE
United States Attorney

Dated: | - ly 2 oY SO cei

PATRICK D. DALY, ‘Wssistant United States Attorney

Dated: - 1% - 2o2t ea og

MATTHEW N.“ SPARKS, Assistant United States
Attorney

MARGARET A. MOESER
Acting Chief, Money Laundering and Asset
Recovery Section, U.S. Department of Justice

pated: [717 ~ Qo 2Y CLO MCD

CHAD M. Davis, Trial Attorney, Bank Integrity Unit
Money Laundering and Asset Recovery Section,
U.S. Department of Justice

17

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 17 of 18

T have consulted with my attorney and fully understand all of my rights with respect to the
offense charged in the Information. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines, I have read this
plea agreement and carefully reviewed every part of it with my attorney. I understand this plea
agreement and | voluntarily agree to it.

( 7
Dated: | 1 “\fis L® oy ? Ve

_ PETER McVEY, Defendant

I am Christopher Joseph, the defendant Peter McVey’s attorney. I have fully explained to
Mr. McVey his rights with respect to the offense charged in the information. Further, I have
reviewed with him the provisions of the Sentencing Guidelines which might apply in this case. I
have carefully reviewed every part of this plea agreement with him. ‘To my knowledge, Mr.
MeVey’s decision to enter into this plea agreemer Lis an infornied and voluntary one,

Dated: ‘Le | ? _ 2]

CHRISTOPHER JoqEPH, Attorney for Defendant

18

Case 4:24-cr-00007-RK Document 8 Filed 01/17/24 Page 18 of 18

